Case 1:04-cv-01067-.]DT-STA Document 15 Filed 05/09/05 Page 1 of 2 Page|D 13

IN THE UNITED sTATEs DIS;IRI(;T l_COUR,_T_ _ 05 HAY-`" -9 p l
FoR THE wEsTERN DISTRICT"oF TENNESSEE 1 H 2‘ 28

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_ CLEH/< @; w § E*IYUO
JENNIFER wIMBERLY ) . .r ;~_1\1 MC . . CT
) 1 KSON
Plaintiff, )
)
v. ) Case No. 1-04-1067-T
) JURY DEMANDED
METHoDIST-LEBONHEUR )
HEALTHCARE FOUNDATION )
)
Defendant. )

 

ORDER GRANTING LEAVE TO DEFENDANT TO FILE REPLY

 

Upon motion by Defendant and for good cause shown, the Court grants Defendant leave
to file a reply to Plaintiff’s Memorandum in Opposition to Defendant’s Motion for Summary
Judgment through and including , 2005.

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So oRDERED AND ENTERE this § 1537 of May, 2005.

L.QM(

UNI ATES DISTRICT JUDGE\

This document entered on the docket sheet in compliance
with Flule 58 and/or 79 (a) FHCP on __Q§;l,@ ' 05

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.1 ustin Gilbert

THE GILBERT LAW FIRM
2021 Greystcne Park
Jackson, TN 38308

Michael L. Russell

THE GILBERT LAW FIRM
2021 Greystcne Park
Jackson, TN 38308

.1 essica A. Neal

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC- Memphis
6075 Pcplar Ave.

Ste. 500

1\/1emphis7 TN 38119

David P. .1 aqua

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Pcplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Honcrable .1 ames Tcdd
US DISTRICT COURT

